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UNITED STATES DISTR_ICT COURT United States Courts

50uthern District of Texas
for the

FlLED
Sonthcm District of Texns May 181 2018
United Statcs of`America ) David j. Brad!ey, C|erk of Cou rt
v. ) .
DYLAN WAlecoTT § C“S° N°' 4' 18m]083 1
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Deji.’ndmu(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowiedge and belief.
On or about the date(s) of [\p[i| __30_,_ Ma)_( 14_. and M§…§( 15. 2018 in the county of GALVESTQN in the
S`OL_lV_THERN_____ District of TEXAS , the dcfendant(s) violatcd:
Code .S`ect.r'on Ojfense Descrt'p!iou
21 U.S.C. § 841(2)(1) Pussession VWth the lntent to Distribute Mari]uana
18 U.S.C. § 924(¢) Using, Carrying, or Possessing a Firearm Durfng and in Relatiun to a Drug
Traf|‘icking Crime

'I`his criminal complaint is based on these facts:

See Attached Aft‘idavit

if Continued on the attached sheet.

 

Dominic Rosami!ia
Primed name and tide

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gm osha/2018

    

Jtrrtg;"'.s signature

City and statc: Houston, Te_xa§ _ Magistrat§ Judge Christina A. Bryan
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

l. I, Dominic Rosamilia, Affiant, having been duly sworn, do hereby state the

following:

I. INTRODUCTION AND AGENT BACKGROUND

2. l am an investigative or law enforcement officer within the meaning of Section
2510(7) of Title 18, United States Code, that is an officer of the United States who is empowered
by law to conduct investigations of and to make arrests for offenses enumerated in Section 2516
ofTitle 18, United States Code.

3. 2. l am a Special Agent (SA) of the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), United States Department of Justice, and have been so employed since April
of 2009. I graduated from the Federal Law Enforcement Training Center and the ATF National
Academy in Glynco, Georgia. l am presently a member of Houston Group I of the ATF. As a
Special Agent of the ATF, my duties and responsibilities include conducting criminal
investigations of individuals and entities for possible violations of federal laws, particularly those
laws found in Title 18 of the United States Code. l have received additional law enforcement
training at Chesterfield County Police Department. l was employed by Chesterfield County
Police for thirteen years. While at Chesterfield County Police Department i was assigned to
investigations, vice and narcotics, community policing, patrol and was a Sergeant. 1 have
instructed several topics throughout the state of Virginia to include Search and Seizure and Basic
Law. I have requested and executed over 100 search warrants l arn a graduate of The State
University of New York at Buffalo with a bachelor degree in l-lealth and Human Services.

4. My current assignment with Houston Group I, involves the investigation of

individuals who traffic firearms to individuals, violent criminals, criminal organizations such as

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street gangs and drug trafficking organizations I have used cooperating inforrnants, undercover
agents, pen register."‘trap and trace devices, video surveillance, wiretaps, GPS tracking devices,
and audio surveillance, among other law enforcement techniques, in the course of my career with
ATF.

5. This affidavit is intended to show merely that there is probable cause for the

requested complaint and arrest warrant and does not set forth all of my knowledge about this

matter.

II. PURPOSE OF AFFIDAVIT

6. This affidavit is made in support of an application for a complaint against and
arrest warrant for D¥LAN WAINSCOTT.

7. Based on my training and experience, and the facts as set forth in this aflidavit,
there is probable cause to believe that DYLAN WAINSCOTT committed a violation of 21
U.S.C.§ 841 (Possession with Intent to Distribute Marijuana) and a violation of 18 U.S.C.
§924(c) (Using, Carrying, or Possessing a Firearm During and in Relation to a Crime of
Violence or Drug Trafficking Crime).

III. CHARGES
Count One
Possession With The Intent to Distribute Marijuana

8. Beginning in or about April 30, 201 8, and continuing until on or about May 15,

2018, within the Southern District of Texas, and elsewhere, the defendant
DYLAN WAINSCOTT,

did knowingly and intentionally possess with intent to distribute a controlled substance This

violation involved less than 50 kilograms of marijuana, a Schedule I substance.

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All in violation of Title 21, United States Code, Sections 841 (a)(l ) and 841(b)(l)(D),
and Title 18, United States Code, Section 2.
Count Two

Using, Carrying, or Possessing a Fircarm During and in Relation to a
Drug Trafl'icking Crime

9. On or about May 15, 201 B, within the Southem District of "I`exas, and eisewhere,

the defendant
DYLAN WAINSCOTT,
did knowineg use firearms, that is, a Tarus 40 caliber sami-automatic pistol, serial number
SIT29782, and a Revolver, serial WOI 768, during and in relation to, and did knowineg possess
a firearm in furtherance of, a drug trafficking crime for which he may be prosecuted in a court of
the United States, that is, Possession With The Intent to Distribute Marijuana; in violation of
Title lS, United States Code, Section 924(c)(l)(A).
IV. STATEMENT OF PROBABLE CAUSE

10. On or about April 30, 2018, a Galveston County confidential information working
with law enforcement (“CI") made a controlled purchase of four ounces of marijuana from
DYLAN WAINSCOTT for $500. The purchase was made with marked bills whose serial
numbers were recorded. This four ounces was field tested by law enforcement and came back
positive as marijuana

ll. Then on or about May 14, 2018, the CI made another controlled purchase of four
ounces of marijuana from DYLAN WAINSCOTT, also for $500. That purchase was also made
with marked bills whose serial numbers were recorded. This four ounces was field tested by law
enforcement and came back positive as marijuana

12. All of these controlled buys took place at his home, 213 Turquoise Trade Drive,

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La Marque, Texas 77568.

13. On May 15, 2018, law enforcement personnel with the La Marque PoIice
Department, Galveston County Sherriff`s Oftice, Santa Fe Police Departrnent and Texas
Department of Pub|ic Safety executed a search warrant at 213 Turquoise Trade Drive, La
Marque, Texas 77568.

14. At approximately 1200 hours law enforcement knocked on the front door and
made its presence known. Atter several knocks, loud footsteps in the house as if someone was
running At this time, law enforcement personnel breached the front door. As entry was made,
DYLAN WAINSCOTT was located in the hallway coming off of the Stairs. lie was placed under
arrest along with an Unnamed Co-Conspirator #l (CC-l) who was in the kitchen.

15. After that, the garage was searched. Law enforcement located a tan in color Yeti
cooler on the ground of the garage that had black in color packages of marijuana inside of it. The
bags of marijuana were open bags that had previously been vacuum sealed. lt located a black in
color duffle bag in the corner of the garage to the right of the refrigerator. lnside the black in
color duffle bag, several more black vacuum sealed bags of marijuana was located. On the floor
of the garage there were empty marijuana bags. Located on top of the work bench in the garage,
was a quarter pound (QP) of marijuana, vacuum sealed inside a clear baggie. All of these items
were field tested by law enforcement and came back positive for marijuana

16. WAINSCOTT’S bedroom was then searched On the bed side table in the
bedroom there was a black in color wallet. lnside the black in color wallet was WAINSCOTT’S
Texas DL along with bank cards in WA[NSCO'IT’S name. Narcotic paraphernalia was found
inside the third drawer on the dresser. A black in color safe was also located on the floor of the

closet in WAINSCOTT’S room. Behind the safe, a bong (Paraphernalia) was located.

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WAI`NSCOTT’S cell phone was located in the bedroom on top of the Xbox. Later, at the
Galveston County Sheriff”s Office, the safe found in WAINSCOTT’S room was opened after
securing another search warrant. The safe, law enforcement found cash and drugs. The drugs
were found in a zip lock bag similar to the one that was part of the April 30, 2018 controlled
purchase. In addition, 5490.00 of the cash found in the safe were from the marked bills used in
the controlled purchases described above. The drugs in the zip lock bag was not fieId tested, but
it had the look and odor of marijuana

17. Law enforcement then searched the room in the hallway to the left of the front
door. lnside the room, there was a gun safe and numerous boxes of ammunition On top of the
gun safe there was a black in color bag that also had marijuana inside of it.

18. Finally, law enforcement searched the master bedroom that belonged to
WAINSCOTT’S parents. In the master bedroom law enforcement located narcotic paraphernalia
on the bedside table. Law enforcement also located two firearms in the dresser; a Tarus 40
caliber semi~automatic pistol, serial number SIT29782, and a Revolver, serial W01768.

19. The marijuana that was seized totaled 10.6 pounds. A representative sample was

field tested by law enforcement and came back positive as marijuana

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CONCLUS]ON
20. Based on the foregoing, I believe that probable cause exists to support violations
of Title 21, United States Code, Sections 841 (a)(l) and 841(b)(1)(D) and Title 18, United States
Code, Section 924(e)(l)(A), and that the nature of this crime combined with other facts and

circumstances further supports the issuance of a warrant by this court for the arrest of DYLAN

 

WAINSCOTI`.
Dominic Rosamilia
Special Agent, ATF
hunt
Subscribed and sworn tohefet=e-me on this day of May, 201 8.
gao

 

§u"istina A. Bryan
United States Magistrate .ludge

